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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   MARY ROMA JAGE, individually and as mother and             )
   next friend of Vilia T. Jage, and MICHAEL P. JAGE,         )
                                                              )
                     Plaintiffs,                              )
                                                              )
   v.                                                         )   Case No. 06-CV-249-GKF-FHM
                                                              )
   TRUST COMPANY OF OKLAHOMA, THOMAS W. )
   WILKINS, individually and as President, Chief              )
   Executive Officer, and Chairman of the Board of Trust )
   Company of Oklahoma; RONALD J. SAFFA,                      )
   individually and as a shareholder in Morrell, West, Saffa, )
   Craige & Hicks, Inc.; MORREL, WEST, SAFFA,                 )
   CRAIGE & HICKS, INC.; JAMES C. MILTON,                     )
   individually and as a partner in Doerner, Saunders,        )
   Daniel & Anderson, L.L.P.; DOERNER, SAUNDERS, )
   DANIEL & ANDERSON, L.L.P.; JAMES E. POE,                   )
   individually and as a partner in Covington & Poe;          )
   COVINGTON & POE; LEE I. LEVINSON; TERRY J. )
   BARKER, individually and as a partner in Pezold,           )
   Caruso, Barker & Woltz; PEZOLD, CAURSO, BARKER )
   & WOLTZ; WILLIAM C. KELLOUGH, individually                 )
   and as a partner in Boone, Smith, Davis, Hurst &           )
   Dickman and a shareholder in Boone, Smith, Davis,          )
   Hurst & Dickman, Inc.; BOONE, SMITH, DAVIS,                )
   HURST & DICKMAN; BOONE, SMITH, DAVIS,                      )
   HURST, & DICKMAN, INC.; BANK ONE, N.A.; J.P. )
   MORGAN CHASE & CO.; JAMES E. WEGER,                        )
   individually and as a partner in Jones, Givens Gotcher & )
   Bogan and Jones, Gotcher & Bogan; JONES, GIVENS, )
   GOTCHER & BOGAN; JONES, GOTCHER &                          )
   BOGAN; PATRICIA WALLACE HASTINGS; and                      )
   JOHN DOES 1 - 10, whose identifies are not yet known; )

                    Defendants.

                                             JUDGMENT

          This action came before the Court on the Defendants’ Motions to Dismiss [Dkt. Nos. 26, 36,

   37, 40].
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          The motions having been granted by this court’s order dated September 30, 2009, [Dkt. No.

   232] , IT IS ORDERED THAT the plaintiffs Mary Roma Jage, individually and as mother and next

   friend of Vilia T. Jage, and Michael P. Jage, recover nothing, the action be dismissed for lack of

   jurisdiction, and the defendants recover costs from the plaintiffs.

          DATED this 23rd day of November 2009.




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